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                          UN ITED STA TES DISTRICT CO UR T FOR THE
                               SO UTHERN DISTRICT O F FLO RIDA
                                        M iam iD ivision

                       CaseNum ber: 14-24683-CIV -M ARTINEZ-GOODM AN

  VIDEO IN SIG H T IN C .,

          Plaintiff,

  VS.

  HAW K TECHNOLOGY SY STEM S,LLC,

          D efendant.


                FINA L O RD ER O F D ISM ISSAL W ITH O U T PR EJUD ICE AN D
                  O R DE R D EN YIN G ALL PEN DIN G M O TIO NS A S M O O T

          THIS MATTER isbeforetheCourtuponPlaintiffsNoticeofVoluntaryDismissal(ECF
  No.91.ltis:
          A DJU D G ED thatthisaction isD ISM ISSED W ITH OU T PREJU D ICE . ltisalso:

          ADJUDGED thatallpendingm otionsin thiscase areDENIED A S M OOT,and thiscase

  isCLO SED .

          D ON E AN D O RDERED in Cham bers atM iam i,Florida,this      day ofFebruary,
  2015.



                                                  JO SE
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                                                           M ARTW EZ
                                                  > 1       STA TES DISTRICT JU D GE

  Copiesprovidedto:
  M agistrate Judge Goodm an
  A 11CounselofRecord
